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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                  :     Chapter13
Shasia Willis

       (DEBTOR)                         :     Bankruptcy No. 20-13521AMC13


    RESPONSE OF CIBIK & CATALDO, P.C. TO CERTIFICATION IN OPPOSITION OF
                      APPLICATION FOR COMPENSATION

       Cibik & Cataldo, P.C. was never served with the certification in opposition
or the notice of a scheduled hearing. Counsel learned of the hearing while
checking the court docket to see if an amended plan had been filed. In
response to the averments Cibik & Cataldo P.C. state as follows:

       1-5      Admitted.

       6 – 14 Denied. Cibik & Cataldo, P.C. was responsive. There were
countless emails as well as phone call appointments. Counsel was doing
everything they could to prevent an Adversary Action. Counsel was trying to
avoid the Adversary by cooperating and getting responses to inquiries and
document requests to counsel for the creditor. Ms. Willis over several months
failed to get all documents and made promises to provide items by certain
dates but failed to do so.

      The process was explained to her countless times. She kept stating we
were “not pushing back.” We explained that we believed the Adversary would
be defensible. We explained that cooperation and documentation production
was the way to avoid expensive litigation.

     Cibik & Cataldo, PC, can present testimony and email chains from
September 1, 2020 through January 28, 2021 which show;

                1. Efforts to explain the process
                2. Efforts to avoid expensive litigation
                3. Debtor’s non-production of documents
                4. Debtor’s promises of dates for production without meeting those
                   dates
                5. Opposing counsel’s Adversary Action caused by non-production
                   of requested documents and information
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      WHEREFORE, Cibik & Cataldo, P.C. seeks and Order approving the fee
application in the amount of $6,000.00.


                                       Respectfully submitted,


Date: April 6, 2021                    BY: /s/ Michael A. Cataldo
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